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UNl'll`ElD STATES lDlSTRlC'l` COUlR,;ll`

 

Western District of Tennessee 575
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united states et-‘Ameriea oRDER HoLDiNG moseng
FOR REVOCATION HEARIN
v.
l\/IATTl-IEW Wl-llTLEY Case Number'. 04-10013-T/AN

 

 

On August 30, 2005, the defendant appeared before me on a charge ot`violation ot`the terms
and conditions of his supervised release in this matter. At this hearing, the defendant WAIVED his
right to a preliminary hearingl Vic Ivy, representing the government, and Lovve Finney, representing
the det`endant, vvere present.

Accordingly, the defendant is held to a final revocation hearing before Judge James D, Todd.
lt is presumed that the United States District Court will set this matter for a revocation hearing
pursuant to Federal Rule of Criminal Procedure 32. l (a)(Z), and Will see that appropriate notices are

given. The defendant is remanded to the custody Ofth€ United States Marshal.

gnma fate

S. Thomas Anderson, Unfted States Magz`$trate Jua'ge

Da!e.' Augusf 30, 2005

This document entered on the docket sheet in com liance
with Rule 55 and/or 32(b) FRCrP on §

  
 

ENNESSEE

 
 

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This notice confirms a copy of the document docketed as number 96 in
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Richard L. Finney

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Honorable .l ames Todd
US DISTRICT COURT

